
309 S.W.3d 874 (2010)
STATE of Missouri, Plaintiff/Respondent,
v.
Dwayne WINGO, Defendant/Appellant.
No. ED 93519.
Missouri Court of Appeals, Eastern District, Division Three.
May 11, 2010.
Nancy A. McKerrow, Columbia, MO, for Appellant.
Chris Koster, Attorney General, John M. Reeves, Assistant Attorney General, Jefferson City, MO, for Respondent.
Before GLENN A. NORTON, P.J., MARY K. HOFF, J., and LAWRENCE E. MOONEY, J.

ORDER
PER CURIAM.
Dwayne Wingo (Defendant) appeals from the judgment upon his conviction by a jury for one count of first-degree robbery, in violation of Section 569.020.[1] The trial court sentenced Defendant to twenty-six years' imprisonment. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the remaining claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential purpose. The parties have been furnished with a memorandum
NOTES
[1]  Unless otherwise indicated, all statutory references are to RSMo 2000.

